     Case 17-28557         Doc 16      Filed 11/30/17 Entered 11/30/17 10:58:52                      Desc Notice 7
                                              11 12 Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TENNESSEE
       In re                                                  Case No. 17−28557 dsk
                                                              Chapter 7



                                                              Adversary No.
       William Eugene Henry Jr.

       Debtor(s).

                    NOTICE OF HEARING COMBINED WITH RELATED INFORMATION
                            RE FORM, MANNER AND SERVING OF NOTICE
                              (APPLICABLE TO CHAPTER 7, 11, AND 12)



15 − Expedited Motion to Withdraw as Attorney Filed by Jimmy E. McElroy on behalf of William Eugene Henry Jr.
(McElroy, Jimmy)

 on November 29, 2017.
 NOTICE IS HEREBY GIVEN THAT:

   1. The Hearing to consider the above
shall be held on December 19, 2017 at 09:30 AM in the United States Bankruptcy Court, 200 Jefferson Ave,
Room 945, Memphis, TN 38103 , BUT ONLY IF an objection to such relief requested is filed by December 12,
2017 and served as required pursuant to L.B.R. 9013−1.
    At the time of hearing, it may be continued or adjourned from time to time by oral announcement of the
continued or adjourned date and time, without further written notice.
   2. A copy of this Notice of Hearing has been served by the Bankruptcy Noticing Center to the following
entities:
      All Parties on Servicing List
    Service upon any party other than those who received service by the Bankruptcy Noticing Center as noted
above shall be the responsibility of the moving party within seven (7) days of receipt of this order pursuant to
FED. R. BANKR. P. 2002, 9007, 9013, or 9014, and in the manner provided for service of a summons and
complaint by FED. R. BANKR. P. 7004. The moving party herein (or attorney for moving party) within three
(3) days after service shall file a certificate of service with the Bankruptcy Court Clerk, certifying notice of
this order, motion, application, or Notice of Proposed Intent pursuant to FED. R. BANKR. P. 6004(a) and
6007(a).
    3. If no objection is filed by any creditor or interested party, including the debtor, by the date stated above in
paragraph one, the movant shall promptly file a certificate in compliance with L.B.R. 9013−1 and the proposed order
on such matter with the Bankruptcy Court for entry thereof, and there will not be a hearing conducted on the date
stated in paragraph one above.

                                                                    Kathleen A Ford
                                                                    CLERK OF COURT

                                                                    BY: Tonya Lepone
                                                                    _________________________________________
                                                                      Deputy Clerk
                                                                    DATE: November 30, 2017
                                                                    [combrelcco30]Order/Notice combined Rel 11−03
